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      In The United States Court of Federal Claims
                                          No. 10-778C

                                     (Filed: October 18, 2013)
                                            __________

 RICHARD COLLINS, individually and on
 behalf of a class of all those similarly
 situated,

                       Plaintiffs,

        v.

 THE UNITED STATES,

                       Defendant.
                                           __________

                                            ORDER
                                           __________

       A telephonic status conference will be held in this case on Friday, October 25, 2013, at
2:00 p.m. (EDT). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.


                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
